884 F.2d 1318
    UNITED STATES of America, Plaintiff-Appellee,v.Pavit NITTAYANUPAP, and Arkrin Taecharatanaprasert,Defendants-Appellants.
    Nos. 87-1395, 88-1001.
    United States Court of Appeals,Ninth Circuit.
    Sept. 18, 1989.
    
      On Remand from the United States Supreme Court.
      Before WALLACE, TANG and NELSON, Circuit Judges.
    
    ORDER
    
      1
      On June 19, 1989, --- U.S. ----, 109 S.Ct. 3181, 105 L.Ed.2d 690 the United States Supreme Court vacated the judgment of this court and remanded this case for further consideration in light of Gomez v. United States, --- U.S. ----, 109 S.Ct. 2237, 104 L.Ed.2d 923 (1989).  In Gomez, the court held that it is reversible error for federal magistrates to conduct jury selection in felony trials without defendant's consent.  This court recently held that the per se rule of reversal announced in Gomez, applies to all cases pending on direct review and not final when Gomez was decided.  United States v. France, 886 F.2d 223 (9th Cir.1989).  This case is indistinguishable from France.    Therefore, the judgment in this case is reversed.
    
    
      2
      REVERSED.
    
    